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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                      March 04, 2020
                          UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

ORLANDA DEL CARMEN PEÑA                       §
ARITA, et al.,                                §
                                              §
         Plaintiffs,                          §
VS.                                           § CIVIL ACTION NO. 7:19-cv-00288
                                              §
UNITED STATES OF AMERICA, et al.,             §
                                              §
         Defendants.                          §

                                          ORDER

       After considering Plaintiffs’ and Defendants’ counsels’ representations at the February

25, 2020 initial pretrial and scheduling conference, the Court ORDERS Plaintiffs to properly

serve process on outstanding defendants no later than March 26, 2020. Additionally, the Court

ORDERS all parties to appear for a status conference on April 14, 2020 at 9:00 a.m.

       IT IS SO ORDERED.

       DONE at McAllen, Texas, this 4th day of March 2020.


                                               ___________________________________
                                                            Micaela Alvarez
                                                       United States District Judge




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